Case 1:22-cv-01129-NYW-SKC Document 53-3 Filed 09/22/22 USDC Colorado Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 3
Case 1:22-cv-01129-NYW-SKC Document 53-3 Filed 09/22/22 USDC Colorado Page 2 of 4




                        IN THE UNITED Sf ATES DISTRICT COURT
                            FOR TIIE DL5TRICI' OF COLORADO

     Civil Action No. J:22-cv-on29
     ERIC COOMER, PhD.,

           Plaintiff

    v.

    MICHAELJ. LINDELL, FRANKSPEECH LLC,
    AND MY PILLOW, INC.,

           Defendants


                           DECLARATION OF RON HmlPHRIES


           I, Ron Humphries, declare and state as follows:

           1.     "My name is Ron Humphries. I am over the age of twenty-one years, am of

     sound mind, and am fully competcntt o make this Declaration . I have per sonal knowledge

     of the matters stated in this Declaration, which are true and correct.

           2.     •1 was contacted by the office of Gain & Skamulis PLLC to attempt sel'\;ce

    of a Deposition Subpoena (the S\lbpocna) o n Joseph Oltrnann (Mr. Ollmann). I received
    the Subpoena on August 31, 2022. The addre ss listed on the Supboena for semce was

    Mr. Oltmann' s residence address located 8245 Keith Court, Castle Rock, Colorado.

    Thereafter, I had several conversations with the office of Cain & Skarnulis PLLC relating

    to attempts to serve M r . Oltmann al his residence and asked for any alternate address

    information, if possible.




                                                 1
Case 1:22-cv-01129-NYW-SKC Document 53-3 Filed 09/22/22 USDC Colorado Page 3 of 4




           3-     •tater on August 31, 2022, I was informed byCain & Skarnulis Pl.LC to not

    attempt service o nM r . Ollman n at his residence. Instead, I was asked to attempt service
    at the offices of PIN Business Netwo rks located at 6200 S. Syracuse W'ay, Suite 125,
    Green wood Village, Colorado. PIN Business Networks co ntain the office in which

    Mr. Oltmann records his daily podcast.

           4.     "On September 2, 2022, I arrived at 6200 $ . Syracus \'Vay at approx;m ately
    10:30 a. . m. I entered tbe b uilding and appro ached Suite 125, which was i de ntified as the

    PIN Business Networks office. The door was equipped with a camera and secure access

    lock. An employee answered the door and asked what I needed. I stated that I bad some

    paperwork for Mr. Oltmann that needed to be sig ned for. The employee invited me into
    the offir.e space. I was then approached by another employee who appeared to be a

    producer ofMr. Oltmann's podcast. He stated to me "Joe is finishing up his podcast" and

    I was invited into a conference room. Approximately 15 minutes later a female employee

    walked into the conference room and asked for my name. The female employee then

    stated "Joe is not in the building" and told me I would need to leave. As I was exitin g the
    conference room, the man 1 previously noted as a producer walked out the same door he

    identified as where Mr. Oltman was recording. I asked him if Mr. Oltmann was finishing

    and he stated to me tliat he was not and additionally, he would not have time to meet with

    me. Whe n I questioned the female employee about her relaying that Mr. Oltmann was
    not in the building, she shrugged her shoulders. At that time, I was escorted out of the

    building.




                                                 2
Case 1:22-cv-01129-NYW-SKC Document 53-3 Filed 09/22/22 USDC Colorado Page 4 of 4




           5.     "Upon returning to my ,-ebicle, I took a positio n at the commercial building
    across the street from 6200 Syracuse W ay . A short time later, an unknown male walke d
    out of the rear of the 6200 SyracuS<> Way, he stopped at the corner and watched me as he
    pulled out his cell phone. He then walked toward the front of the buildi ng . At that time,
    I departed the area.
          6.     "Based on the previous violent rhetoric from Mr.Ollmann, I suggest usi ng
    Douglas County Sheriffs office to either serve M r .Ollma nn at his residence in Castle Rock

    or at the commercial building where he conducts bis podcast.

           7.    "Pursuant to C.R.$.§ 13-27-101, et. seq., I declare under penalty of perjury
    under the law of Colorado that the foregoing is true and correct."
          Furthe r Declarant sayeth naught.




                                           �k-
          E.xecuted on the.J./L day ofSeptember 2022, in Elbert County, Colorado.



                                              Ron Humphries, Declarant




                                                3
